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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

_________________________________________
JANSSEN BIOTECH, INC.,                    )
                        Plaintiff,        )
                                          )
                  v.                      ) Civil Action No. 1:17-cv-11008-MLW
                                          )
CELLTRION HEALTHCARE CO., LTD.,           )
CELLTRION, INC., and                      )
HOSPIRA, INC.,                            )
                        Defendants.       )
_________________________________________ )

        JANSSEN’S NOTICE OF SUPPLEMENTAL AUTHORITY REGARDING
            DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OF
               NON-INFRINGEMENT BASED ON ENSNAREMENT

       Janssen submits this notice of supplemental authority to inform the Court about UCB,

Inc. v. Accord Healthcare, Inc., No. 2016-2610 (Fed. Cir. May 23, 2018) (attached as Exhibit A),

which was decided after Janssen submitted its opposition (see Dkt. No. 259) to Defendants’

motion for summary judgment of non-infringement based on ensnarement (see Dkt. No.226).

UCB is relevant to that motion.

       One legal issue raised in connection with Defendants’ motion is whether the Federal

Circuit’s “lead compound” framework for analyzing obviousness is applicable to the facts of this

case. See Dkt. No. 306 (Defs’ Reply Br.), at 4-9; Dkt. No. 259 (Janssen’s Opp. Br.), at 15-18.

Defendants contend that the closest prior art, without more, “is necessarily the starting point of

the obviousness analysis under long-settled law,” and that the lead compound line of cases “is

relevant only to the very different field of chemical compounds, where chemists typically invent

new compounds by first starting with a particular ‘lead compound.’” Defs’ Reply Br. 5-6

(emphasis in original). In fact, the Federal Circuit in Unigene Labs., Inc. v. Apotex, Inc., 655
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F.3d 1352 (Fed. Cir. 2011), has already applied that framework outside the chemical compound

context, namely with respect to pharmaceutical formulations. See id. at 1361-62 (using the term

“reference composition” instead of “lead compound”).

       In UCB, the Federal Circuit confirmed that the “lead compound” framework does not

apply only to novel chemical compounds, but rather also applies to the purification of chemical

compounds from known mixtures. In UCB, the patent claimed a purified enantiomer of

lacosamide, an anti-epileptic drug. Id. (slip op. at 12-13). The relevant prior art disclosed

numerous compounds, one of which (compound 107e) was a mixture of lacosamide and its

mirror image compound (a so-called racemic mixture). Id. (slip op. at 14-15). The defendants

claimed they had no obligation under the law of obviousness to identify a reason to start with the

racemic mixture in particular. The district court rejected that analysis. Applying the lead

compound framework, the court upheld the patent because a person of ordinary skill in the art

would not have selected the racemate in the first place for purification. Id. (slip op. at 25).

       On appeal, the defendants argued, just as Defendants do here, that the lead compound

analysis “does not apply” except to the creation of novel chemical compounds and that there was

no need for there to be a reason to start with the racemate. Brief for Appellants Alembic Pharm.

Ltd. et al. at 48, UCB, Inc. v. Accord Healthcare, Inc., No. 2016-2610 (Fed. Cir. Dec. 2, 2016),

ECF No. 88. The Federal Circuit rejected the argument: “Appellants argue that the district court

erred by using a lead compound analysis because this case merely involves purification (not

structural modification) of a known compound. We disagree.” UCB (slip op. at 25). The lead

compound framework, according to UCB, is an acceptable method for analyzing the obviousness

not only of novel chemical compounds based on structural similarity to a prior art compound, but

also of purified compounds without structural modification. The Federal Circuit affirmed the
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district court’s conclusion that “a person of ordinary skill in the art would not have selected

compound 107e as a lead compound.” Id. (slip op. at 27).

       The decision in UCB is notable not only for the Federal Circuit’s continued expansion of

the lead compound analysis but also for its recognition of when that form of analysis is not

required – when (unlike this case) the inventing process does not itself start with such a

compound: “A lead compound analysis is not required in analyzing obviousness of a chemical

compound when, in the inventing process, there was no lead compound.” Id. (slip op. at 26).

       The upshot of UCB (and the cases on which it relies) is that the question whether to apply

the lead compound test depends on the prevailing “inventing process” in a particular field. In the

field of cell culture media, it is undisputed that the inventing process depends on the selection of

a lead compound or composition. Ordinarily skilled artisans develop cell culture media by

starting with the classical basal media or mixtures thereof, i.e., a lead compound or composition.

That is what Dr. Epstein (the first-named inventor on the ’083 patent) did (Dkt. No. 260 (JSOF) ¶

8), and that is what Defendants’ expert Dr. Glacken has endorsed (JSOF ¶¶ 5-6; Janssen’s Opp.

Br. 15-17). Thus, on the undisputed the facts of this case, the lead compound framework is not

only appropriate but a necessary consequence of the “inventing process” in the field of cell

culture media.

       This follows directly from the logic underlying the lead compound test itself. As

Defendants describe the case law, the lead compound analysis “is relevant only . . . where

chemists typically invent new compounds by first starting with a particular ‘lead compound.’”

Defs’ Reply Br. 6. Here, cell culture media scientists “typically invent new [cell culture media]

by first starting with a particular ‘lead [media].’” Under UCB, then, “[a] lead compound analysis

is . . . required in analyzing obviousness of a chemical compound when, in the inventing process,
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there was [a] lead compound.” UCB (slip op. at 26); see Takeda Chem. Indus. v. Alphapharm

Pty., Ltd., 492 F.3d 1350, 1357 (Fed. Cir. 2007) (structural similarity is not enough; “it remains

necessary to identify some reason that would have led a chemist to modify a known compound in

a particular manner”); Daiichi Sankyo Co. v. Matrix Labs., 619 F.3d 1346, 1354 (Fed. Cir. 2010)

(“[I]t is the possession of promising useful properties in a lead compound that motivates a

chemist to make structurally similar compounds”; “a motivation to select and then modify a lead

compound to arrive at the claimed invention” is necessary to avoid “hindsight bias”); see also

Pfizer Inc. v. Teva Pharm. USA, Inc., 555 F. App’x 961, 970 (Fed. Cir. 2014) (“A patent

challenger, however, must demonstrate the selection of a lead compound based on its ‘promising

useful properties,’ not a hindsight-driven search for structurally similar compounds.”) (quoting

Daiichi, 619 F.3d at 1354).

       Janssen respectfully requests that the Court consider UCB in connection with Defendants’

fully-briefed ensnarement motion.
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 Respectfully submitted

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